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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
WACO DIVISION

SHAMIRA CONAWAY, § CIVIL ACTION NO. 6:15-cv-00186-WSS
Individually and on Behalf of All Others
Similarly Situated,

Plaintiff,
VS.

§
§
§
§
§
§
§
WCS SERVICES, LLC, §
WARDLAW CLAIMS SERVICE, LLC, §
WCCA, INC., §
WARDLAW INSURANCE §
SERVICES, LLC, §
WARDLAW CLAIMS TRAINING § COLLECTIVE ACTION
CENTER, LLC, §
WARDLAW AUTO CLAIMS §
SOLUTIONS, LLC, §
WARDLAW CONSULTING §
SERVICES, INC., §
CUSTOM DATA SYSTEMS, INC., §
WILLIAM F. WARDLAW, §
MICHAEL WARDLAW, §
REBECCA MEADOWS, and §
STATE FARM MUTUAL §
AUTOMOBILE INSURANCE §
COMPANY, §
§
§

Defendants. JURY TRIAL DEMANDED

ORDER
On this day, came on to be heard the parties’ Joint Motion to Dismiss. The court,
having reviewed the parties’ joint submission, is of the opinion that the Motion should be
granted. It is therefore, ORDERED that: the claims of the Plaintiffs are DISMISSED
WITH PREJUDICE, with each party to bear its own fees and costs, except as provided in

the Confidential Settlement Agreement.
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Signed this $day of Flrn. 2016

WALTER S. SMITH JR.
UNITED STATES DISTRICT rupee

 
